Case 2:08-mj-00781-DUTY Document 1. Filed 03/28/08 Page1ofi Page ID#:1

FILED

2000MAR 28 AMI: 53

St sia yg tes

CENTS

Ree
a way 4

x
LO

CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER =
VS ng O8 078 Mt
PLAINTIFF(S) '
v.
S S A
Sef ree y C H eu AFFIDAVIT RE
DEFENDANT(S). OUT-OF-DISTRICT WARRANT

The above-named defendant was charged by: WS PesTRicT Sepge Gace Eig vir Yer TION

in the District of _ OP EGON on_ inlz4 | oT
at_6400 [L¥a.m./€ p.m. The offense was allegedly committed on or about __/o Hilo
in violation of Title \3 US.C., Section(s)_ PGOG !

towit: SPEC NISED Pelegane Vion

A warrant for defendant’s arrest was issued by: Crop. WW . Vv, VC

Bond of $ SO Road was [J set /[J recommended.

Type of Bond: Nig

Relevant document(s) on hand (attach): Wow €

I swear that the foregoing-is true and correct to the best of my knowledge.

Sworn to beforg me, and sybscribed jn my presence on 3 2S { mF , by

, Deputy Clerk.

} Dau fey

S#Gnature of Agent Print Name of Agent
LS MeSlinc s Ge @u«e Dasm
Agency Title

CR-52 (05/98) AFFIDAVIT RE OUT-OF-DISTRICT WARRANT
